O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence R eduction



                                       U NITED STATES D ISTRICT C OURT
                                                                          for the

                                                        Western District of North Carolina

                     United States of America                               )
                                v.                                          )
                                                                            )   Case No: 3:95CR75-03
                     W ILLIE JAMES McNEAL
                                                                            )   USM No: 11961-058
Date of Previous Judgment: 05/14/1996                                       )   Tanzania C. Cannon-Eckerle
(Use Date of Last Amended Judgment if Applicable)                           )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                                                               months is reduced to time served, plus 10
                    the last judgment issued) of 180                                days                       .

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    40                 Amended Offense Level:                                            38
Criminal History Category: IV                 Criminal History Category:                                        IV
Previous Guideline Range:  360 to life months Amended Guideline Range:                                          324       to 405   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS
It is further ordered that as a condition of supervised release the defendant shall submit to the local
Residential Reentry Center for a period not to exceed 90 days, with work release, at the direction of the U.S.
Probation Officer.

Except as provided above, all provisions of the judgment dated                      05/14/1996         shall remain in effect.
IT IS SO ORDERED .

Order Date:          April 15, 2008


Effective Date:
                      (if different from order date)


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